Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 1 of 6




                EXHIBIT 4
Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 2 of 6
Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 3 of 6
Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 4 of 6
Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 5 of 6
Case 1:19-cr-00850-JSR Document 147-4 Filed 02/17/21 Page 6 of 6
